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                       IN THE UNITED STATES DIsnuCT COURT
                       for the eastern district of VIRCINIA
                                       Al^andria IKvision

   UNITED STATF<S OF AMERICA

                  V.


                                                            Crimiaal No.l:06-cr^161
   VEKNON JACKSON,
         Defendant.


                                             OJRDER

        For the reasons stated in the Memonindum Opinion ofeven date,
        It is hereby ORDERED that defendant's Petition for Writ ofCoram NobU and Vacatur of
  Conviction(Dkt. 35)is GRANTED.

        It is further ORDERED that defendant's convictions for(i)conspiracy to commit bribery
 ofa pubKc official, in violation of 18 U.S.C.§ 371 and 18 U.S.C.§ 201(bXl)(A)and(ii) bribery,
 in violation of 18 U.S.C. § 20l(bXl)(A), as alleged in Counts 1 and 2 of the InfonnatioiL, are
 VACATED.




        The Clerk is directed to send a copy ofthis Order to all counsel ofrecord.


 Alexandria, Virgmia
 March 27,201.9




                                                      T.S.Ellis, m
                                                      United States District Judge
